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                    EXHIBIT 2
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  From: Ira K
  Date: Tue, May 20, 2014 at 11:20 AM
  Subject: Re: memory recall
  To: Craig S Wright <craig@rcjbr.org>


  Thanks. I guess the one he drew for me could have looked like that.

  Wish I kept the card.


  On Tue, May 20, 2014 at 3:25 AM, Craig S Wright <craig@rcjbr.org> wrote:
  Neither of us were graphic artists …

  From: Ira K
  Sent: Tuesday, 20 May 2014 5:03 PM
  To: Craig Wright
  Subject: Re: memory recall

  i think the logo he drew for me only had only line going through the B, not two.


  On Tue, May 20, 2014 at 3:01 AM, Craig Wright <craig@rcjbr.org> wrote:

  We did partner ;)

  The properties were not magnificent, but I loved them. In total I had a few cattle ranches and farm. Up in Port
  Macquarie. Wonderful beaches, but underdeveloped unlike Florida. In total about 550 acres.

  I will have to see what I can dig up. The old Bitcoin logo we did is no longer used. I have a copy somewhere.

  Some of the issues we still face come from how people assume making money must be counterfeit or
  otherwise illegal.

  Craig

  On 20/05/2014 4:53 pm, "Ira K"                                 wrote:
  I thought I would share this memory of Dave I had.

  I don't recall him ever saying the word Bitcoin to me, but I do
  have a memory where I think he told me he was working on it.
  We were visiting at my Dad's house I think for Thanksgiving, and
  I believe it was the first time he met my daughter . We started
  talking about how successful Facebook had become and I asked
  him if he was working on anything interesting. He told me he was
  making his own money. I was like what? Are you making
  counterfeit money? I thought maybe he was up to something fishy.
  And then he said it was digital money and opened his wallet to
  show me something like a business card with a logo on it.
  But he couldn't find it so I think he just scribbled it on the back
  of a card, the B with lines through it.

  He also said he was doing some work with a rich foreign guy. I asked him
  how rich is this guy? He said something like he's not super rich, but he owns
  some properties. Then he said some other stuff about the foreign guy
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  that I don't remember. I replied to him saying why don't you partner
  with this guy. With your brains and his money you guys could create
  the next big thing like Facebook. He gave me a blank look and was
  silent, which I thought unusual for Dave to stop talking. Maybe he
  didn't want to directly come out and say you guys were already
  partners. Anyway, that's the only time I can recall where he mentioned
  this stuff to me.

  I was wondering if you were aware of any business cards ever being
  printed with the Bitcoin logo on it. I never found any in his belongings.
  I wasn't sure if he was opening his wallet to show me a Bitcoin business
  card or if he just wanted to grab an existing card to draw the logo on
  the back of it.

  Thanks,
  Ira
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  From: Craig S Wright <craig@rcjbr.org>
  Date: Tue, May 20, 2014 at 3:23 AM
  Subject: RE: memory recall
  To: Ira K


  Here you go – this is the first of the first.



  The later version of the same
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